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                       AgFed Credit Union - 9908
Deposit Source   Transactions       Total          Connection to Business

    Cash              16          $67,356.00
   TOTAL                          $67,356.00

                                PAYEES
       Payee                     Count                      Total
   Signature Bank                  1                     -$55,000.00
      TOTAL                                              -$55,000.00
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                                                                       12/01/19   12/31/19

                                                                        1



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    12/01 ID 01 PRIMARY SHARE ACCOUNT Previous Balance                                5.00
    12/31       Ending Balance                                                        5.00
                Dividends Paid Year to Date                                 0.00
    ---------------------------------------------------------------------------------------
    12/01 ID 08 SHARE DRAFT CHECKING Previous Balance                                50.00
    12/02       VER CAMPUS USA CREDIT UNION 107 NW 140TH
                TER. NEWBERRY FL
    12/02       Deposit Shared Branch #120200002847                      1450.00   1500.00
                CAMPUS USA CREDIT UNION 107 NW 140TH TER.
                NEWBERRY FL
    12/02       VER USMID FLOR 128 S. Brevard Ave Arcadia
                FL
    12/02       VER DOVER-PHILA FEDERAL CREDI 5465 E State
                Rd Newcomerstown OH
    12/02       Deposit Shared Branch #9336174391                        2200.00   3700.00
                DOVER-PHILA FEDERAL CREDI 5465 E State Rd
                Newcomerstown OH
    12/02       VER Christian FCU 41690 W 10 Mile Road
                Novi MI
    12/02       VER Christian FCU 41690 W 10 Mile Road
                Novi MI
    12/02       Deposit Shared Branch #000000122986                      6000.00   9700.00
                Christian FCU 41690 W 10 Mile Road Novi MI
    12/03       VER PTF FCU - MADISON BRANCH 3230 S
                MADISON ST MUNCIE IN
    12/03       Deposit Shared Branch #120300007089                      8000.00 17700.00
                PTF FCU - MADISON BRANCH 3230 S MADISON ST
                MUNCIE IN
    12/03       VER Christian FCU 41690 W 10 Mile Road
                Novi MI
    12/03       Deposit Shared Branch #000000118934                      5000.00 22700.00
                Christian FCU 41690 W 10 Mile Road Novi MI
    12/03       VER DAY AIR CREDIT UNION 3434 YORK COMMONS
                BLVD DAYTON OH
    12/03       VER DAY AIR CREDIT UNION 3434 YORK COMMONS
                BLVD DAYTON OH
    12/03       Deposit Shared Branch #504327098301                      3005.00 25705.00
                DAY AIR CREDIT UNION 3434 YORK COMMONS
                BLVD DAYTON OH
    12/04       VER Bethpage FCU 899 South Oyster Bay Ro
                Bethpage NY
    12/04       Deposit Shared Branch #000000863629                       920.00 26625.00
                Bethpage FCU 899 South Oyster Bay Ro
                Bethpage NY
    12/04       VER Christian FCU 41690 W 10 Mile Road
                Novi MI
    12/04       Deposit Shared Branch #000000049139                      6700.00 33325.00
                Christian FCU 41690 W 10 Mile Road Novi MI
    12/04       VER Christian FCU 18441 Utica Rd.
                Roseville MI
    12/04       VER Christian FCU 41690 W 10 Mile Road
                Novi MI
    12/05       VER 0T0046 358 S Elkhart Ave Elkhart IN
    12/05       Deposit Shared Branch #000000137955                      4000.00 37325.00
                --- Continued on following page ---
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             0T0046 358 S Elkhart Ave Elkhart IN
12/06        VER APCU FLOYD COUNTY BRANCH 3040 MARTHA
             BERRY HWY ROME GA
12/06        Deposit Shared Branch #120600008695                       3049.00    40374.00
             APCU FLOYD COUNTY BRANCH 3040 MARTHA BERRY
             HWY ROME GA
12/06        VER OSAGE BEACH BRANCH 5286 OSAGE BEACH
             PARKWA OSAGE BEACH MO
12/06        Deposit Shared Branch #120600006793                       2500.00    42874.00
             OSAGE BEACH BRANCH 5286 OSAGE BEACH PARKWA
             OSAGE BEACH MO
12/06        VER PANAMA CITY 2615 HIGHWAY 77 PANAMA
             CITY FL
12/06        Deposit Shared Branch #120600003078                       3000.00    45874.00
             PANAMA CITY 2615 HIGHWAY 77 PANAMA CITY FL
12/06        VER Spirit Of Alaska 407 Old Steese Highwa
             Fairbanks AK
12/06        Deposit Shared Branch #000000578422                       3000.00    48874.00
             Spirit Of Alaska 407 Old Steese Highwa
             Fairbanks AK
12/06        VER 0T0046 358 S Elkhart Ave Elkhart IN
12/06        VER NATIONAL CITY 3003 HIGHLAND AVENUE
             NATIONAL CITY CA
12/06        Deposit Shared Branch #120600003627                       3000.00    51874.00
             NATIONAL CITY 3003 HIGHLAND AVENUE
             NATIONAL CITY CA
12/06        VER MIDLAND CREDIT UNION 2891 106TH ST
             URBANDALE IA
12/06        Deposit Shared Branch #120620001674                       3002.00    54876.00
             MIDLAND CREDIT UNION 2891 106TH ST
             URBANDALE IA
12/06        VER Resource One CU 9211 JONES RD HOUSTON
             TX
12/06        Deposit Shared Branch #000175838160                      12530.00    67406.00
             Resource One CU 9211 JONES RD HOUSTON TX
12/11        Withdrawal                                             -55000.00     12406.00
             OUTGOING WIRE SIGNATURE BANK
12/11        Withdrawal                                                 -25.00    12381.00
             OUTGOING WIRE FEE SIGNATURE BANK
12/12        Withdrawal                                                 -20.00    12361.00
             DONATION TO FONA
12/31        Ending Balance                                                       12361.00
             Dividends Paid Year to Date                                   0.00
  ----------------------------------------------------------------------
|                                           | Total For | Total Year- |
|                                           | This Period |   to-Date    |
|------------------------------------------|-------------|-------------|
| Total Returned Item Fees                  |         0.00 |       0.00 |
|------------------------------------------|-------------|-------------|
| Total Overdraft Fees                      |         0.00 |       0.00 |
  ----------------------------------------------------------------------



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 *************************** ATM Deposits and Other Credits ****************************
 Date      Amount Description               Date      Amount Description
 12/02    1450.00 Deposit Shared Branch     12/05    4000.00 Deposit Shared Branch
 12/02    2200.00 Deposit Shared Branch     12/06    3049.00 Deposit Shared Branch
 12/02    6000.00 Deposit Shared Branch     12/06    2500.00 Deposit Shared Branch
 12/03    8000.00 Deposit Shared Branch     12/06    3000.00 Deposit Shared Branch
 12/03    5000.00 Deposit Shared Branch     12/06    3000.00 Deposit Shared Branch
 12/03    3005.00 Deposit Shared Branch     12/06    3000.00 Deposit Shared Branch
 12/04     920.00 Deposit Shared Branch     12/06    3002.00 Deposit Shared Branch
 12/04    6700.00 Deposit Shared Branch     12/06   12530.00 Deposit Shared Branch
 16 ATM Deposits or Other Credits for 67,356.00
 **************************** Withdrawals and Other Charges ****************************
 Date      Amount Description               Date      Amount Description
 12/11   55000.00 Withdrawal                12/12      20.00 Withdrawal
 12/11      25.00 Withdrawal
 3 Withdrawals or Other Charges for 55,045.00
 ---------------------------------------------------------------------------------------
             Total Dividends Paid Year to Date                           0.00

***************************** Account Balance Summary ******************************
Total Shares                       Balance | Total Loans                        Balance
PRIMARY SHARE ACCOUNT                 5.00 |
SHARE DRAFT CHECKING              12361.00 |
                            -------------- |
                                  12366.00 |
************************************************************************************




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